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                          James Steranko
                                 3/6/2007




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    1          UNITED STATES DISTRICT COURT
              CENTRAL DISTRICT OF CALIFORNIA
    2                 EASTERN DIVISION
                        ---
    3    JOANNE SIEGEL and                      :
         LAURA SIEGEL LARSON,                           :
    4           Plaintiffs,           :
                              :
    5           vs.               :
                              : Case No. 04-8400
    6    TIME WARNER INC.; WARNER :
         COMMUNICATIONS INC.;                           : Case No. 04-8776
    7    WARNER BROS. ENTERTAINMENT:
         INC.; WARNER BROS.                         :
    8    TELEVISION PRODUCTION                              :
         INC.; DC COMICS; and                   :
    9    DOES 1-10,                       :
                Defendants.               :
   10                   ---
   11           Philadelphia, Pennsylvania
   12            Tuesday, March 6, 2007
   13
   14                   ---
   15
   16           Videotaped Deposition of JAMES
   17    STERANKO held at Morgan, Lewis & Bockius, LLP,
   18    1701 Market Street, on the above date,
   19    beginning at 2:17 p.m., before Kimberly A.
   20    Overwise, a Certified Realtime Reporter and
   21    Notary Public.
   22                   ---
   23
   24
   25

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    1    APPEARANCES:

             MARC TOBEROFF, ESQ.

    2        Law Offices of Marc Toberoff PLC

               2049 Century Park East, Suite 2720

    3          Los Angeles, CA 90067

    4          Counsel for Plaintiffs and

               Counterclaim Defendants

    5

             PATRICK T. PERKINS, ESQ.

    6        Perkins Law Office, PC

               1711 Route 9D

    7          Cold Spring, NY 10516

    8          Counsel for Defendants and

    9          Counterclaimants

   10

   11

   12    ALSO PRESENT:

   13    Brian Sappio

   14    Jacqueline Vassalotti

   15    Videographers

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   24         (INDEX at end of transcript.)

   25


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    2    by Detective and DC Comics?

    3        A   I think he was treated very well at

    4    some times and very badly at others.

    5        Q   I'd like to turn to Page 4 of your

    6    report if we could. It says Analysis. Do you

    7    see that?

    8        A   Yes.

    9        Q   The first subheading is A,

   10    Work-for-Hire issue. Do you see that?

   11        A   Yes.

   12        Q   What is your understanding of what

   13    the word work -- the phrase "work for hire"

   14    means?

   15                MR. TOBEROFF: Calls for a

   16        legal conclusion.

   17                You can answer.

   18        A   I believe that work for hire

   19    indicates that an employee dictates a specific

   20    set of terms, elements, designations, details,

   21    sometimes reference material, perhaps a plot

   22    outline, a treatment, a synopsis to the

   23    employee; sometimes that work is done under

   24    direct supervision of the employer; that the

   25    employer has significant control over the


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    2    nature of the material and ultimately that

    3    it's turned over to him and that he owns it

    4    completely.

    5        Q   Are you aware that work for hire is

    6    a legal concept?

    7        A   Yes.

    8        Q   Do you know what the legal test is

    9    for determining whether or not a work is a

   10    work for hire?

   11        A   I may have discussed this with

   12    various people along the way. I'm not sure

   13    that I can give you a definitive answer or

   14    even if I ever knew precisely what the legal

   15    test would be.

   16        Q   Can you give me your best attempt at

   17    identifying what the legal test is for what is

   18    a work for hire?

   19              MR. TOBEROFF: Calls for a

   20        legal conclusion. He's not a lawyer.

   21        A   I'd say that the employer must

   22    provide a significant basis for the material,

   23    the subject matter, for example, synopsis of

   24    the story, or provide reference for the

   25    characters, that there's a significant amount


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    1               James Steranko

    2    of input, and that they pay for the work.

    3        Q   What is the basis for your opinion

    4    that that is the test?

    5              MR. TOBEROFF: Asked and

    6        answered.

    7              You can answer.

    8        A   When I worked at Marvel, I was on a

    9    work for hire basis. They provided me with

   10    description of the character. Sometimes they

   11    gave me pencil breakdowns to work from.

   12    Occasionally they would give me, especially in

   13    the beginning, treatment, synopsis of the

   14    material that they were looking for. There

   15    was supervision, particularly in the early

   16    part of my tour at Marvel. And finally that

   17    paycheck that was stamped work for hire. A

   18    little stamp on the opposite side I think said

   19    work for hire, which I often just crossed off

   20    just to see what would happen with it, and the

   21    check was cashed and I got paid anyway. But

   22    my experience at Marvel would be the basis for

   23    that comment.

   24        Q   Are you familiar with any cases, the

   25    names of any cases where the work for hire


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